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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               WESTERN DIVISION

TANYA L. ENGLISH,                          )
                                           )
       Petitioner,                         )
                                           )
v.                                         )   Case No.: 7:20-cv-01141-MHH-JHE
                                           )
FEDERAL BUREAU OF PRISONS, et al.,         )
                                           )
       Respondents.                        )

                             MEMORANDUM OPINION

      On September 23, 2020, the magistrate judge entered a report in which he

recommended that the Court dismiss Ms. English’s § 2241 petition for writ of habeas

corpus with prejudice because Ms. English must pursue the relief she seeks via a

motion for compassionate release in the district court in which she was sentenced.

(Doc. 7). No party has objected to the report. The Court has reviewed Ms. English’s

petition and the magistrate judge’s report and agrees that Ms. English must seek

relief from the sentencing court. Therefore, by separate order, the Court will dismiss

this habeas proceeding. 28 U.S.C. § 636(b)(1)(C); United States v. Raddatz, 447

U.S. 667 (1980).

      DONE and ORDERED this October 19, 2020.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE
